United States District Court
Northern District of Califomia

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Case 3:14-cr-00102-CRB Document 340 Filed 01/23/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

UNTTED STATES OF AMERICA,

Plaintiff,
v.
FURM]NGER,
Defendant.

 

 

 

 

Case No. 14-c1'-00102-CRB-1

DENYING MOTION FOR
CERTIFICATE OF
APPEALABILITY

The Coult construes petitioner Ian Furminger’s notice of appeal as a motion for a

certificate of appealability That motion is DENIED.

IT IS SO ORDERED.
Dated: Jan. 23, 2018

gri-v-

CHARLES R. BREYER
United States District Judge

 

